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                            EXHIBIT A
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Nathan Schwed, Esq.                                                This Order relates to a hearing
Peter Janovsky, Esq.                                               held on ________
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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:                                                               Chapter 11

SEASONS CORPORATE LLC, et al.,                                       Case No.: 18-45284 (nhl)

                                      Debtors.1                      Jointly Administered



     ORDER SUSTAINING DEBTORS’ THIRD OMNIBUS OBJECTION: TO
       PRIORITY CLAIMS FILED AGAINST THE DEBTORS THAT ARE
    DUPLICATE, IMPROPERLY CLASSIFIED AS PRIORITY, SATISFIED, OR
        NOT REFLECTED IN THE DEBTORS’ BOOKS AND RECORDS


                   Upon the Debtors’ Third Omnibus Objection to Priority Claims (the

“Third Objection”)2 that are duplicate and/or have been amended (the “Duplicate



1
    The Debtors in these Chapter 11 cases, together with the last four digits of their federal tax identification
    numbers, are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961),
    Amsterdam Avenue Market LLC (7988), Wilmot Road Market LLC (8020), Seasons Express Inwood
    LLC (1703), Seasons Lakewood LLC (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC
    (3331), Seasons Cleveland LLC (7367), Lawrence Supermarket LLC (8258), Upper West Side
    Supermarket LLC (8895), Seasons Property Management LLC (2672) and Seasons Corporate LLC
    (2266) (collectively the “Debtors”).
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Third
    Objection.
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Claims”); (ii) improperly classified as secured (the “Reclassified Claims”); (iii) satisfied,

assumed and/or cured (the “Satisfied Claims”) or (iv) not reflected in the Debtor’s books

and records (the “Records Claims” and, together with the Duplicate, Reclassified, and

Satisfied Claims, the “Disputed Claims”), and the Court having jurisdiction to consider

the Third Objection and the relief requested therein in accordance with 28 U.S.C. §§ 157

and 1334; and consideration of the Third Objection and the relief requested therein being

a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Third

Objection having been provided, and no other or further notice of the Third Objection

being necessary; and the Court having considered the Third Objection, and any responses

thereto; and it appearing that the relief requested therein is in the best interests of the

Debtors and their estates, creditors, and all other parties in interest; and after due

deliberation thereon and good and sufficient cause appearing therefore,



IT IS HEREBY ORDERED THAT:


               1. The relief requested in the Third Objection is granted to the extent

provided herein.




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               2. The following Claims listed on Schedule 1 hereto as “Duplicate” in the

column under the heading “Basis for Objection,” are disallowed and expunged in their

entirety; provided however, that the relief granted herein shall have no effect on (a) the

surviving claim of Central Time Clock listed under the heading labeled “Proposed

General Unsecured Amount” on Schedule 1; and (b) the surviving claim filed as an

unsecured claim by Scarsdale Shopping Center Associates as Claim No. 128.


 Claim Number                                   Claimant

 C150                                           Central Time Clock, Inc.

 C128                                           Scarsdale Shopping Center Associates




               3. The following Claims listed on Schedule 1 hereto as “Reclassify to

Unsecured” under the heading “Basis for Objection,” are reclassified as unsecured, and

the relief granted herein shall have no effect on the surviving claim listed under the

heading labeled “Proposed General Unsecured Amount” on Schedule 1.


 Claim Number                                   Claimant

 C117                                           A & L Cesspool Service Corp.

 C7                                             Central Time Clock, Inc.

 C125                                           Congregation Chemed of Nitra

 C12                                            Kel Chai Corp.




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                4. The following Claims listed on Schedule 1 hereto under the heading

“Basis for Objection” as Assumed and Cured and/or Paid, are disallowed and expunged

in their entirety.


 Claim Number                                    Claimant

 C5                                              Comptroller of Maryland

 C1, C2                                          New York State

 C5                                              State of New Jersey




                5. The following Claims listed on Schedule 1 hereto as “Books and

Records” under the heading “Basis for Objection,” are disallowed and expunged in their

entirety:




                     Claim Number                Claimant


 C9, C11                                         State of New Jersey




                6. The Clerk’s Office is authorized and directed to modify the official

claims registry for the Debtors, as appropriate, in compliance with the terms of this Order.




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                 7. Each Disputed Claim and the objections filed by the Debtors to such

claim, as addressed in the Third Objection and as set forth on Schedule 1 hereto,

constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.


                 8. This Order shall be deemed a separate Order with respect to each

Disputed Claim. Any stay of this Order pending appeal by any claimants whose claims

are subject to this Order shall only apply to the contested matter which involves such

claimant and shall not act to stay the applicability and/or finality of this Order with respect

to the other contested matters listed in the Third Objection or this Order.


                 9. The terms and conditions of this Order are effective immediately upon

entry.


                 10. This Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation of this Order.




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                                                                               SEASONS CORPORATE, ET AL.
                                                                        CASE NO. 18-45284 (JOINTLY ADMINISTERED)
                                                                  NON-SUBSTANTIVE OMNIBUS OBJECTION TO PRIORITY CLAIMS

                                                                         Filed Priority     Filed General       Proposed General
Claim No.                Creditor                      Debtor               Amount        Unsecured Amount      Unsecured Amount      Proposed Treatment            Basis for Objection
                                                                                                                                                             No basis for priority; claimed as
C117        A & L Cesspool Service Corp.     Lawrence Supermarket LLC           $500.00            $1,183.68             $1,683.68 Reclassify to Unsecured   wages
C7          Central Time Clock, Inc.         Wilmot Road Market LLC             $257.76            $3,495.00             $3,752.76 Reclassify to Unsecured
                                                                                                                                                             No basis for priority (Priority amt
                                                                                                                                                             on claim is for sales tax charges)
C150        Central Time Clock, Inc.         Wilmot Road Market LLC            $257.76             $3,495.00                       Disallow                  Duplicate of claim #7
C5          Comptroller of Maryland          Seasons Maryland LLC             $5,822.00               $30.00                       Disallow                  Sales tax paid
                                                                                                                                                             No basis for priority (Kashrus
C125        Congregation Chemed of Nitra     Seasons corporate                $5,013.00                 $0.00            $5,013.00 Reclassify to Unsecured   Certification)

                                                                                                                                                             Reclass to Unsecured. No basis for
                                                                                                                                                             priority (In store concession claim
C12         Kel Chai Corp.                   Wilmot Road Market LLC          $12,850.00           $58,079.44            $70,929.44 Reclassify to Unsecured   for % of sales)
C1          New York State                   Seasons Corporate               $21,139.37                $0.00                       Disallow                  Sales tax paid
C1          New York State                   Seasons Corporate               $11,419.98                $0.00                       Disallow                  Sales tax paid
C2          New York State                   Seasons Corporate                $1,662.13                $0.00                       Disallow                  Sales tax paid
C1          New York State                   Seasons Corporate               $18,661.84                $0.00                       Disallow                  Sales tax paid
C1          New York State                   Seasons Corporate               $11,336.92                $0.00                       Disallow                  Sales tax paid
C9          State of New Jersey              Wilmot Road Market LLC          $42,500.00                $0.00                       Disallow                  Books and records
C11         State of New Jersey              Seasons Lakewood LLC             $4,321.47                $0.00                       Disallow                  Books and records
C5          State of New Jersey              Seasons Clifton LLC              $1,500.00                $0.00                       Disallow                  GIT-ER Paid
            Scarsdale Shopping Center
C128        Associates, LLC                  Seasons Corporate          No amount         No amount                                Disallow                  Duplicate of Claim #128




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